   Case 2:16-md-02740-JTM-MBN Document 10907 Filed 08/11/20 Page 1 of 12



                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF LOUISIANA


In Re: TAXOTERE (DOCETAXEL)                                                MDL NO. 2740
PRODUCTS LIABILITY LITIGATION

                                                                           SECTION “H” (5)

THIS DOCUMENT RELATES TO:
Lula Gavin, Case No. 2:18-cv-11232
Clare Guilbault, Case No. 2:16-cv-17061
Debbie Hubbard, Case No. 2:18-cv-10283
Audry Plaisance, Case No. 2:18-cv-08068

    HOSPIRA’S OPPOSITION TO PLAINTIFFS’ MOTION FOR LEAVE TO FILE
                 AMENDED SHORT FORM COMPLAINTS

       Hospira, Inc. and Hospira Worldwide, LLC, formerly doing business as Hospira

Worldwide, Inc. (together, “Hospira”) oppose Plaintiffs’ Motion for Leave to File Amended Short

Form Complaints (Doc. 10817). These four cases were added to the trial pool eligible for Trial 5

and involve claims against Hospira by Plaintiffs Lula Gavin, Clare Guilbault, Debbie Hubbard,

and Audrey Plaisance. This Court should deny Plaintiffs’ Motion to the extent their proposed

Short Form Complaint (“SFC”) amendments improperly attempt to revise the definition or

description of their alleged injuries, include non-cognizable legal claims, or add allegations not

permitted by Pre-Trial Order No. 105 (“PTO 105”) (Doc. 10338).

       First, the Court should deny Plaintiff Hubbard’s proposed amendments to her alleged

injuries in paragraph 12 of her SFC for the same reasons that it has rejected similar proposed

amendments by Plaintiffs in this MDL. See Order (Doc. 8702); Order (Doc. 8703); Order (Doc.

10465); see also PTO 105 (Doc. 10338); Order (Doc. 10843).

       Second, the Court should deny Plaintiffs’ Motion to the extent that Plaintiffs seek to add

or retain causes of action that are not permitted by Louisiana law. Louisiana law governs the
   Case 2:16-md-02740-JTM-MBN Document 10907 Filed 08/11/20 Page 2 of 12



claims of Louisiana Plaintiffs Guilbault and Plaisance. As this Court has already held in denying

similar motions to amend, Plaintiffs cannot use the SFC amendment process to add or retain a

cause of action that “would be futile because it states a legally insufficient claim” under the

Louisiana Products Liability Act (“LPLA”). Order (Doc. 8703) at 4. For the same reason, this

Court should deny Plaintiffs Guilbault’s and Plaisance’s motion to include non-LPLA claims,

including Plaintiff Plaisance’s attempt to maintain claims under Illinois law.

       Third, the Court should deny Plaintiffs’ Motion to amend their SFCs to add allegations that

do not comply with PTO 105. PTO 105 permits the addition only of “factual allegations regarding

particularized facts individual and specific to each Plaintiff’s medical care and/or that Plaintiff’s

communications with medical professionals.” PTO 105 at 1 (Doc. 10338); Order (Doc. 10843).

Many of Plaintiffs’ proposed amendments include general allegations and legal conclusions that

are neither particularized to the Plaintiff nor related to the Plaintiff’s medical care, treatment, or

communications with medical professionals. See Ex. A, Pls.’ Original SFCs; Ex. B, Chart of

Proposed Amendments that Do Not Comply with PTO 105. Those amendments should be denied.

                                      LEGAL STANDARD

       While Rule 15 provides that leave to amend should be “freely give[n] . . . when justice so

requires,” Fed. R. Civ. P. 15(a)(2), this Court has recognized that “leave to amend ‘is by no means

automatic.’” Order (Doc. 8703) (quoting Wimm v. Jack Eckerd Corp., 3 F.3d 137, 139 (5th Cir.

1993). Courts have discretion to deny leave if a proposed amendment is “futile” or otherwise fails

to state a claim upon which relief could be granted, Duzich v. Advantage Fin. Corp., 395 F.3d 527,

531 (5th Cir. 2004), or if a proposed amendment would unduly prejudice defendant. Parish v.

Frazier, 195 F.3d 761, 764 (5th Cir. 1999).

       Moreover, in an MDL proceeding, this Court can issue orders to manage the parties’



                                                  2
   Case 2:16-md-02740-JTM-MBN Document 10907 Filed 08/11/20 Page 3 of 12



pleadings for efficiency and overall case management. See In re Deepwater Horizon (Barrera),

907 F.3d 232, 235 (5th Cir. 2018) (per curiam). Accordingly, this Court has denied amendments,

for example, where Plaintiffs in this MDL sought to, among other things: (1) redefine the

definition of their alleged injury in order to avoid dismissal on statute of limitations grounds; or

(2) add or retain causes of action not permitted by Louisiana law. Order (Doc. 8702); Order (Doc.

8703); Order (Doc. 10465).

       In addition, to avoid unnecessary motion practice and streamline SFC amendments by

Plaintiffs in response to this Court’s rulings on statute of limitations motions, this Court issued

PTO 105 and set forth parameters governing the nature and scope of permissible SFC amendments.

PTO 105 provides:

       Within the terms set forth in this Order, Plaintiffs may amend their complaints to
       add factual allegations regarding particularized facts individual and specific to each
       Plaintiff’s medical care and treatment and/or that Plaintiff’s communications with
       medical professionals.

PTO 105 ¶ 2 (Doc. 10338). This Court has made clear that this language means what it says: In

response to the PSC’s filing that purported to set forth “objections” to PTO 105 but instead

“seem[ed] to ask the Court to issue what would essentially be an advisory opinion ruling on the

oppositions [to motions to amend] that Plaintiffs anticipate,” this Court instructed the parties to

“comply with PTO 105 as it is written.” Order (Doc. 10843) (emphasis added).




                                                 3
      Case 2:16-md-02740-JTM-MBN Document 10907 Filed 08/11/20 Page 4 of 12



                                            ARGUMENT

  I.     This Court Should Reject Plaintiff Hubbard’s Attempt to Redefine Her Injuries
         Through SFC Paragraph 12.

         This Court should deny Plaintiff Hubbard’s motion to amend to revise SFC paragraph 12,

which asks about the “nature and extent” (including “duration” and “date of onset”) of Plaintiffs’

alleged injuries. Plaintiff Hubbard seeks to amend paragraph 12 to allege only that she experienced

her injury “beginning sometime after treatment with Taxotere (docetaxel).” Hubbard Proposed

Am. SFC ¶ 12 (Doc. 10817-5). In addition to conflicting with the Master Complaint’s definition

of when her alleged injury began, this allegation conflicts with Plaintiff Hubbard’s sworn Plaintiff

Fact Sheet (“PFS”), which alleges the month and year of each of her alleged injuries. Consistent

with the Master Complaint, her PFS states that she experienced permanent hair loss by January

2015, six months after she stopped her docetaxel treatment. Ex. C, Hubbard Sixth Am. PFS at 16.

This Court has already expressly rejected amendments like the one Plaintiff Hubbard proposes,

including by Trial 2 Plaintiff Kahn. See Kahn Order (Doc. 10465) (“The Court will not […] permit

Plaintiff to amend Question 12 of her SFC to state that her injury occurred sometime after her

Taxotere treatment.”); see also Order (Doc. 8703) at 5 (“The Court will not permit Plaintiffs to

alter their responses to Paragraph 12.”).

         In Kahn, the Court noted that “[it] has not permitted other Plaintiffs to make such

amendments,” Kahn Order (Doc. 10465) at 4 (citing Order (Doc. 8702)), and it should not do so

here. The proposed amendment is “an obvious attempt by Plaintiff to distance herself from the

[injury] definition provided in the Master Complaint.” Id. As in Kahn, this Court should “[hold]

Plaintiff[] [Hubbard] to the definition” of her alleged injury “provided in the Master Complaint.”

Id.




                                                 4
   Case 2:16-md-02740-JTM-MBN Document 10907 Filed 08/11/20 Page 5 of 12



 II.   This Court Should Deny Plaintiffs’ Motion to the Extent Plaintiffs Seek to Include
       Claims that Louisiana Law Does Not Permit.

       Louisiana law governs the claims of Plaintiffs Guilbault and Plaisance, both of whom are

Louisiana residents who allege they received docetaxel in Louisiana and were injured there.

Consistent with this Court’s prior rulings, the Court should deny Plaintiffs’ Motion to the extent

they seek to add or retain causes of action that are not permitted under Louisiana law, including

Plaintiff Plaisance’s Illinois law claims and claims by Plaintiffs Guilbault and Plaisance that are

not permitted under the LPLA. Because such claims are “legally insufficient,” “amendment would

be futile.” Order (Doc. 8703).

           A. Louisiana Substantive Law Governs Plaintiffs Guilbault’s and Plaisance’s
              Claims and Plaisance Cannot Maintain Illinois Law Claims.

       Plaintiffs Guilbault and Plaisance are both Louisiana residents who allege they sustained

injury as a result of using docetaxel in Louisiana. Guilbault Proposed Am. SFC ¶¶ 4, 5, 11 (Doc.

10817-4); Plaisance Proposed Am. SFC ¶¶ 4, 5, 11 (Doc. 10817-6). Plaintiff Guilbault concedes

that Louisiana law governs her claims. Guilbault Proposed Am. SFC ¶ 8 (Doc. 10817-4). Plaintiff

Plaisance incorrectly seeks to amend to plead her claims under Illinois law. Plaisance Proposed

Am. SFC ¶ 8 (10817-6). Because Louisiana’s choice-of-law rules require that Louisiana law

governs all of Plaintiff Plaisance’s claims, the Court should deny her motion to amend and pursue

improper Illinois law claims.

       A district court sitting in diversity applies state substantive law. In re Katrina Canal

Breaches Litig., 495 F.3d 191, 206 (5th Cir. 2007) (citing Erie R.R. Co. v. Tompkins, 304 U.S. 64,

78 (1938)). “In determining which state’s substantive law controls, the court applies the choice-

of-law rules of the forum state”—here, Louisiana. Id.; Rainbow USA, Inc. v. Nutmeg Ins. Co., 612

F. Supp. 2d 716, 725 (E.D. La. 2009). Louisiana Civil Code Article 3545 provides the choice-of-

law rule for product liability cases and provides that Louisiana law applies to Plaintiff Plaisance’s

                                                 5
   Case 2:16-md-02740-JTM-MBN Document 10907 Filed 08/11/20 Page 6 of 12



claims because the alleged “injury was sustained in this state by a person domiciled or residing in

this state.” La. C.C. Art. 3545.

       The parties and this Court have consistently recognized that Louisiana law governs cases

where the Plaintiff was a resident of Louisiana, received the product at issue in Louisiana, and

sustained her alleged injury in Louisiana. See, e.g., Sanford Order (Doc. 10807) at 4; Wilson v.

Takata Corp., No. 16-1356, 2019 WL 2546929, at *2 (E.D. La. June 20, 2019); Clayton v. Ethicon

Inc., No. 17-10168, 2019 WL 1778697, at *1 (E.D. La. Apr. 23, 2019); Guidry v. Janssen Pharms.,

Inc., No. 15-45491, 2016 WL 633673, at *2-3 (E.D. La. Feb. 17, 2016); O’Neil v. Abbott Labs.,

Inc., No. 11-11, 2011 WL 902427, at *2 (E.D. La. Mar. 11, 2011). Each of these facts applies to

Plaintiff Plaisance. Thus, Louisiana law governs Plaintiff Plaisance’s claims, and her Motion

should be denied to the extent it seeks to include claims under Illinois law.

       Plaintiff Plaisance cannot avoid this result by identifying the Northern District of Illinois

as the “District Court and Division in which remand and trial is proper and where [she] might have

otherwise filed this Short Form Complaint absent the direct filing Order entered by this Court.”

Plaisance Proposed Am. SFC ¶ 8 (Doc. 10817-6). Plaintiff is from Cut Off, Louisiana, which is

within this Court’s jurisdiction. See Ex. D., Plaisance Second Am. PFS at 2. Her claims have no

connection to Illinois other than Hospira having its principal place of business there. In analogous

personal injury product liability actions, federal district courts routinely reject venue arguments

based on the location of a corporate defendant and grant motions to transfer venue to plaintiff’s

home jurisdiction under 28 U.S.C. § 1404. See, e.g., Gibson v. SmithKline Beecham Corp., No.

14-1539, 2014 WL 12712346, at *3 (E.D. Pa. July 21, 2014); Overson v. Berryman Prods., 461 F.

Supp. 2d 537, 539-41 (E.D. Tex. 2006); Dearing v. Sigma Chem. Co., 1 F. Supp. 2d 660, 664-65

(S.D. Tex. 1998); In re Consol. Parlodel Litig., 22 F. Supp. 2d 320, 323-27 (D.N.J. 1998). In any

case, even if this case had been filed in Illinois, Illinois choice-of-law rules would direct that
                                                 6
   Case 2:16-md-02740-JTM-MBN Document 10907 Filed 08/11/20 Page 7 of 12



Louisiana law govern Plaintiff’s claims. See, e.g., Paulsen v. Abbott Labs., No. 15-cv-4144, 2018

WL 1508532, at *12-13 (N.D. Ill. Mar. 27, 2018); Townsend v. Sears, Roebuck & Co., 879 N.E.2d

893, 903-06 (Ill. 2007).

           B. Plaintiffs’ Motion Should Be Denied to the Extent It Seeks to Maintain
              Claims by Plaintiffs Guilbault and Plaisance That Fall Outside of the LPLA.

       This Court’s denial of the Trial 3 Plaintiffs’ motion to amend to include claims not

permitted under the LPLA applies equally here to Plaintiffs Guilbault’s and Plaisance’s proposed

SFCs, which assert claims that fall outside of the LPLA. Order (Doc. 8703) at 4.

       “The LPLA only allows recovery if a product is unreasonably dangerous:                  1) in

construction or composition; 2) in design; 3) because of inadequate warning; or 4) because of

nonconformity to express warranty.” Guidry, 2016 WL 633673, at *2. Accordingly, any theories

of recovery outside of these four are prohibited by the LPLA and Plaintiffs’ attempt to include

them in their amended SFCs should be denied. As this Court held in its Order on the Trial 3

Plaintiffs’ motion, “the LPLA establishes ‘the exclusive theories of liability for manufacturers for

damage caused by their products.’ Because the LPLA does not permit any theory of strict liability,

a strict liability claim is not ‘viable as an independent theory of recovery against a manufacturer’

in a products liability action under Louisiana law.” Order (Doc. 8703) at 4 (quoting LA. REV.

STAT. § 9:2800.52; Jefferson v. Lead Indus. Ass’n, Inc., 106 F.3d 1245, 1251 (5th Cir. 1997)).

Here, as there, this Court should “den[y] Plaintiffs’ Motion insofar as it seeks to retain [a] strict

products liability claim” and other claims not permitted by the LPLA. Id.

       Thus, this Court should deny Plaintiff Guilbault’s proposed amended SFC to the extent she

seeks to include the Master Complaint’s Count I claim for “Strict Products Liability – Failure to




                                                 7
    Case 2:16-md-02740-JTM-MBN Document 10907 Filed 08/11/20 Page 8 of 12



Warn” and Count II “Strict Products Liability for Misrepresentation.”1 Similarly, this Court should

deny Plaintiff Plaisance’s proposed amended SFC to the extent she seeks to include Master

Complaint Count I (“Strict Products Liability – Failure to Warn”), Count III (“Negligence”), Count

IV (“Negligent Misrepresentation”), Count V (“Fraudulent Misrepresentation”), Count VI

(“Fraudulent Concealment”), and Count VII (“Fraud and Deceit”).

        This Court should also deny Plaintiff Plaisance’s proposed amended SFC to the extent she

seeks to include a claim for punitive damages under Illinois law. Louisiana’s choice-of-law rules

dictate that in product liability cases, claims for “damages, whether compensatory, special or

punitive, are governed by the law of this state . . . when the injury was sustained in this state by a

person domiciled or residing in this state.” La. C.C. Art. 3545. Because Plaintiff Plaisance is a

Louisiana resident alleging injury as a result of using docetaxel in Louisiana, Louisiana law applies

to her claim for punitive damages. Plaisance Proposed Am. SFC ¶¶ 4, 5, 11 (Doc. 10817-6).

        “Punitive damages are not authorized under the LPLA,” and Louisiana federal courts

routinely dismiss requests for punitive damages in products liability cases governed by Louisiana

law. Lampkin v. Stryker Sales Corp., No. 14-0151, 2015 WL 1284197, at *2 n.8 (W.D. La. Mar.

18, 2015); accord Bell v. Foster Wheeler Energy Corp., No. CV 15-6394, 2017 WL 979023, at

*4-5 (E.D. La. Mar. 13, 2017); Averette v. Bayer Healthcare Pharms. Inc., No. 13-05968, 2014

WL 1246851, at *2 (E.D. La. Mar. 25, 2014); Thompson v. Bayer Healthcare Pharms., Inc., No.

13-3702, 2013 WL 5375441, at *3 (E.D. La. Sept. 24, 2013); Truxillo v. Johnson & Johnson, No.

07-2883, 2007 WL 1853363, at *4 (E.D. La. June 27, 2007).




1
 Hospira does not oppose Plaintiff Guilbault’s motion for leave to amend her SFC to eliminate counts. Nor
does Hospira oppose Plaintiff Guilbault’s motion to add an inadequate warning claim under the LPLA.


                                                   8
   Case 2:16-md-02740-JTM-MBN Document 10907 Filed 08/11/20 Page 9 of 12



         Louisiana courts have also expressly rejected attempts by plaintiffs in similar actions to

circumvent the LPLA’s exclusionary rule by applying Article 3547’s “exceptional cases” choice-

of-law provision to their punitive damages claims. Article 3547 provides for another state’s law

to govern only where “it is clearly evident” from the totality of the circumstances that the policies

of another state “would be more seriously impaired” if its law were not applied. La. C.C. Art.

3547; see, e.g., Wilson, 2019 WL 2546929, at *2-3.           Product liability cases like Plaintiff

Plaisance’s, involving a Louisiana resident allegedly injured in Louisiana, are “simply not the kind

of truly exceptional case to which Article 3547 was intended to apply.” Shively v. Ethicon, Inc.,

No. 3:17-0716, 2018 WL 6816083, at *5 (W.D. La. Dec. 27, 2018); see also Jefferson Par. Hosp.

Serv. Dist. #2 v. W.R. Grace & Co., No. 92-0891, 1992 WL 167263, at *3 (E.D. La. June 30,

1992).    Indeed, “it is Louisiana law that would be seriously impaired if it were so easily

circumvented.” Guidry, 2016 WL 633673, at *2-3.

         Accordingly, this Court should deny Plaintiffs Guilbault’s and Plaisance’s motion to file

amended SFCs that include claims not permitted under the LPLA.

III.     Plaintiffs’ Motion Should Be Denied To the Extent It Seeks to Add Non-Factual and
         Non-Particularized Allegations That Do Not Comply with PTO 105.

         This Court should also reject Plaintiffs’ attempt to amend their SFCs to add non-factual

and non-particularized allegations. Pursuant to PTO 105, Plaintiffs are permitted to amend their

SFCs only to “add factual allegations regarding particularized facts individual and specific to each

Plaintiff’s medical care and treatment and/or that Plaintiff’s communications with medical

professionals.” PTO 105 at 1. Many of Plaintiffs’ proposed amendments are improper legal

conclusions not authorized by PTO 105. Even those allegations that might be considered “factual”

are non-particularized statements copied across complaints. These proposed amendments, which

are identified in detail in Exhibit B, fail to comply with PTO 105 and should be denied.


                                                 9
  Case 2:16-md-02740-JTM-MBN Document 10907 Filed 08/11/20 Page 10 of 12



        For example, Plaintiff Plaisance seeks to add allegations that “the serious risk of

developing disfiguring permanent alopecia and other injuries are the direct and proximate result

of breaches of obligations owed by Defendants to Plaintiff, including defects in design, marketing,

manufacture, distribution, instructions and warnings by Defendants.” Plaisance Proposed Am.

SFC ¶ 2(a)-(k) (Doc. 10817-6). And Plaintiffs Gavin, Guilbault, and Hubbard seek to assert

identical generic allegations that: “At no time did Plaintiff receive a warning that her use of

Taxotere may result in permanent hair loss.” Gavin Proposed Am. SFC ¶ 3 (Doc. 10817-3);

Guilbault Proposed Am. SFC ¶ 3 (Doc. 10817-4); Hubbard Proposed Am. SFC ¶ 2 (Doc. 10817-

5). These generalized allegations duplicate or modify those set forth in the Master Complaint and

do not contain facts relating to each Plaintiff’s medical treatment or communications, as required

by PTO 105.

        Even where Plaintiffs’ proposed amendments include the names of prescribing physicians

or dates of treatment, they still cannot fairly be called particularized, individual, and specific as

required by PTO 105. For example, Plaintiffs Gavin, Guilbault, and Hubbard each recite that

“prior to undergoing chemotherapy treatment [in/on] [date],” she “discussed potential

[chemotherapy] side effects with her [prescribing oncologist/oncology nurse].” Gavin Proposed

Am. SFC ¶ 1 (Doc. 10817-3); Guilbault Proposed Am. SFC ¶ 1 (Doc. 10817-4); Hubbard Proposed

Am. SFC ¶ 1 (Doc. 10817-5). Further, Plaintiffs Gavin and Guilbault each make nearly identical

allegations that:

           “Plaintiff was instructed by Dr. Penland that although she may experience hair loss
            during the course of her chemotherapy treatments, her hair loss would be temporary.”
            Gavin Proposed Am. SFC ¶ 2 (Doc. 10817-3).

           “Plaintiff was instructed by Dr. Theodossiou that although she may experience hair loss
            during the course of her chemotherapy treatments, her hair loss would be temporary
            and that any hair lost would re-grow.” Guilbault Proposed Am. SFC ¶ 2 (Doc. 10817-
            4).

                                                 10
  Case 2:16-md-02740-JTM-MBN Document 10907 Filed 08/11/20 Page 11 of 12




See also Hubbard Proposed Am. SFC ¶ 1 (Doc. 10817-5) (similar). Although such allegations

include the name of each Plaintiffs’ prescribing physician or dates of treatment, none provide any

meaningful information to distinguish their allegations from those in the Master Complaint.

Indeed, any Plaintiff in MDL 2740 could allege the same verbatim statements, filling in the blank

for her prescribing physician’s name or dates of treatment.

       In addition, many of Plaintiffs’ proposed new allegations do not concern Plaintiff’s medical

care, treatment, or communications at all, but rather each Plaintiff’s purported personal beliefs

about her hair. For example, Plaintiff Guilbault alleges: “Plaintiff did not suspect she may be

suffering from permanent hair loss caused by Taxotere until she observed a legal advertisement in

approximately May of 2016.” Guilbault Proposed Am. SFC ¶ 13 (Doc. 10817-4); see also Gavin

Proposed Am. SFC ¶ 8 (Doc. 10817-3) (similar); Hubbard Proposed Am. SFC ¶ 9 (Doc. 10817-5)

(similar). These alleged personal beliefs do not constitute or reference allegations regarding

medical care, treatment, or communications with medical professionals.

       Thus, because they fail to comply with PTO 105, this Court should deny Plaintiffs’ Motion

as to each of the proposed amended allegations identified above and in Exhibit B.

                                        CONCLUSION

       Hospira respectfully requests that this Court deny Plaintiffs’ Motions for Leave to File

Amended SFCs, as set forth above.

Date: August 11, 2020                        Respectfully submitted,
                                             /s/ Mark S. Cheffo
                                             Mark S. Cheffo
                                             Mara Cusker Gonzalez
                                             DECHERT LLP
                                             Three Bryant Park
                                             1095 Avenues of Americas, 31st Floor
                                             New York, New York 10036
                                             Telephone: (212) 689-3814

                                               11
Case 2:16-md-02740-JTM-MBN Document 10907 Filed 08/11/20 Page 12 of 12



                                Facsimile: (212) 698-3599
                                Mark.Cheffo@dechert.com
                                Maracusker.Gonzalez@dechert.com

                                /s/ John F. Olinde
                                John F. Olinde (Bar No.1515)
                                Peter J. Rotolo (Bar No. 21848)
                                CHAFFE McCALL LLP
                                1100 Poydras Street
                                New Orleans, LA 70163
                                Telephone: (504) 858-7000
                                Facsimile: (504) 585-7075
                                olinde@chaffe.com
                                rotolo@chafe.com

                                Counsel for Defendants Hospira, Inc., Hospira
                                Worldwide, LLC, formerly doing business as
                                Hospira Worldwide, Inc., and Pfizer Inc.




                                  12
